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STATE OF MINNESOTA                                                          DISTRICT COI]RT

COUNTY OF HENNEPIN                                             FOIJRTH JUDICIAL DISTRICT

                                                                         Case Type: Other   Civil

                                                                   Court File No.


Paul E. Johnson and C. Taren Vang,

                    Plaintiffs,
                                                                     SUMMONS
vs.

City of Minneapolis; and Officer John Doe, in his
individual and official capacities; the Bureau of
Criminal Apprehension; and Agents Jane Roe 1;
Jane Roe 2: and John Roe in their individual and
official capacities,

                     Defendants




THIS SUMMONS IS DIRECTED TO Bureau of Criminal Apprehension

       I   YOU ARE BEING SUED. The Plaintiff has started a lawsuit against you. The
Plaintiffs Complaint against you is attached to this summons. Do not throw these papers away.
They are official papers that affect your rights. You must respond to this lawsuit even though it
may not yet be filed with the Court and there may be no court file number on this summons.

       2. YOU MUST REPLY WITHIN 20 DAYS TO PROTECT YOUR RIGHTS. You
must give or mail to the person who signed this summons a written response called an Answer
within 20 days of the date on which you received this Summons. You must send a copy of your
Answer to the person who signed this summons located at:
       Paul J. Bosman, Attomey at Law
       4457 33.rdAvenue South
       Minneapolis, MN 55406

        3. YOU MUST RESPOI\D TO EACH CLAIM. The Answer is your written response
to the Plaintiffs Complaint. [n your Answer you must state whether you agree or disagree with
each paragraph of the Complaint. If you believe the Plaintiff should not be given everything
asked for in the Complaint, you must say so in your Answer.

       4 YOU WILL LOSE YOUR CASE IF YOU DO NOT SEND A WRITTEN


                                                                         Removal Exhibit 1
RESPONSE TO THE COMPLAINT TO THE PERSON WHO SIGNED THIS
SUMMONS. If you do not Answer within 20 days, you will lose this case. You will not get to
tell your side of the story, and the Court may decide against you and award the Plaintiff
everything asked for in the complaint. If you do not want to contest the claims stated in the
complaint, you do not need to respond. A default judgrnent can then be entered against you for
the relief requested in the complaint.

        5..LEGAL ASSISTANCE. You may wish to get legal help from a lawyer. If you do not
have a lawyer, the Court Administrator may have information about places where you can get
legal assistance. Even if you cannot get legal help, you must still provide a written Answer to
protect your rights or you may lose the case.
       6. ALTERNATM DISPUTE RESOLUTION. The parties may agree to or be
ordered to participate in an alternative dispute resolution process under Rule 114 of the
Minnesota General Rules of Practice. You must still send your written response to the
Cornplaint even if you expect to use alternative means of resolving this dispute.




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Paul J        #0388865                                           Dated
4457 33rdAvenue South
Minneapolis, MN 55406
Tel: (651) 48s-7046
paul.bosman@grnail.com




                                                                         Removal Exhibit 1
